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                      UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TEXAS

    STATE OF TEXAS, ET AL.,

                  Plaintiff

                      v.                          Civil Action No. 4:20-cv-957-SDJ

    GOOGLE LLC,

                 Defendant.

TEXAS GENERAL LAND OFFICE’S MOTION TO QUASH DEPOSITION
SUBPOENA, MOTION FOR PROTECTIVE ORDER, AND REQUEST FOR
                      SUBMISSION

     Pursuant to Fed. R. Civ. P. 45(d)(3) and Fed. R. Civ. P. 26(c), non-party Texas

General Land Office (GLO), through the Office of the Attorney General-

Administrative Law Division, files this Motion to Quash Deposition Subpoena,

Motion for Protective Order, and Request for Submission in response to Defendant’s

subpoena received on or around March 24, 2024 (Subpoena). See Exhibit A attached

hereto. The Subpoena commands GLO to designate one or more officers to testify

on April 3, 2024, at 9:30 a.m. CST. 1 Id.

     This motion seeks to prevent testimony of any GLO officer and prevent further

discovery attempts, based on GLO’s sovereign immunity.

     In support, non-party GLO respectfully shows the Court the following:

1
 Counsel for GLO has conferred with Counsel for Google and agreed to pass the deposition date
of April 3, 2024, pending resolution of this matter.
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                                       Background

    The State of Texas filed the captioned proceeding against Google in 2021 based

on allegations Google violated the Texas Deceptive Trade Practices - Consumer

Protection Act and the Biometric Identifier Act. On April 21, 2023, Google served

a Rule 45 non-party subpoena duces tecum on GLO seeking a multitude of

documents spanning over a ten-year period. GLO timely filed Rule 45 objections

arguing it had sovereign immunity from the subpoena, that the subpoena violated

Fed. R. Civ. P. 45(d)(1) because Google failed to take reasonable steps to avoid

undue burden and expense 2, and that the requested documents were irrelevant to any

of Google’s claims or defenses.3 Counsel for GLO and Counsel for Google conferred

multiple times about the document subpoena. Without waiving its sovereign

immunity, GLO stated that it would be seeking cost shifting and, in the spirit of

cooperation, produced responsive documents going back three years. There were no

communications from Google counsel after these documents were produced until

the deposition subpoena was served on March 24, 2024.

                                    Motion to Quash

    Neither GLO nor its officers, who are not parties to this case, are subject to the

subpoena because sovereign immunity prevents the court from having subject matter


2
  GLO estimated it would take hundreds of hours and multiple to review and gather responsive
information.
3
  Objections to the subpoena deuces tecum served on Google by GLO are attached as Exhibit B.
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jurisdiction over them. Russell v. Jones, 49 F.4th 507, 513 (5th Cir. 2022) (stating

“a court, state or federal, lacks jurisdiction to enforce a subpoena against an

unwilling sovereign.”) (citing Louisiana v. Sparks, 978 F.2d 226, 235-36 (5th Cir.

1992)).4

    Further, “[w]here sovereign immunity applies, it applies totally.” Russell, 49

F.4th 514. Accordingly, the court should quash this subpoena. TexasLDPC, Inc. v.

Broadcom, Inc., Misc. No. 4:22-CV-01780, 2023 WL 3293292, at *2 (S.D. Tex.

May 5, 2023) (quashing third-party subpoena to Texas state agency because “[a]s an

agency of the State of Texas, TAMUS enjoys immunity from suit (including

discovery) in federal court.” (citing Sullivan v. Texas A&M Univ. Sys., 986 F. 3d

593, 595 (5th Cir. 2021)).

    Sovereign immunity not only applies when a state is a defendant; it also applies

to a state and its officers as third parties. Russell, 49 F.4th at 514; Thompson v.

Richter, No. 7:22-cv-00014-O, 2023 WL 7986341, at *1 (N.D. Tex. Nov. 17, 2023).

Where sovereign immunity applies, it applies not just to direct suits, but to the entire

“coercive process of judicial tribunals at the instance of private parties.” Id.

“Subpoenas [] are a coercive judicial process [because] they [are] issu[ed] under the

court’s authority and are enforced by court order.” Id. at 515. Causing a state agency



4
  See also Russell, 49 F.4th 516-19, discussing “similar conclusions in analogous cases involving
federal and tribal sovereign immunity.”
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and its officers who are not parties to the case to comply with a subpoena “violates

the ‘inviolable sovereignty’ retained by the states in the Constitution’s wake.” Id.

(citing Alden v. Maine, 527 U.S. at 706, 715 (1999) (quoting The Federalist No. 39,

at 245 (James Madison)).

   GLO is an independent state agency. Its officers, directors, or managing agents

are being summoned in their official capacity to testify about actions and information

of which they have knowledge because of their positions within the GLO. Both GLO

and its officers are protected by the Eleventh Amendment, which was written “to

prevent the indignity of subjecting a state to the coercive process of judicial tribunals

at the instance of private parties.” Russell, 49 F. 4th at 513 (quoting Ex parte Ayers,

123 U.S. 443, 505 (1887)).

   Furthermore, sovereign immunity is not waived when an agency responds to

other discovery requests, because “production of documents does not unequivocally

demonstrate an intent to waive sovereign immunity.” Thompson v. Richter, No.

7:22-cv-00014-O, 2023 WL 7986341, at *2; see also Neinast v. Texas, 217 F.3d 275,

279 (5th Cir. 2000). Thus, both the GLO and its officers are protected by sovereign

immunity, and Google's deposition subpoena should be quashed.

                              Motion for Protective Order

   GLO and its officers seek a Protective Order to prevent further Subpoenas from

being issued upon them in this case. “[A]ny person from whom discovery is sought
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may move for a protective order in the court were the action is pending. [] The Court

may, for good cause, issue an order to protect a party or person from annoyance,

embarrassment, oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c)(1).

“Good cause is established by a specific showing of ‘clearly defined and serious

injury to the party seeking’ the protective order.” Moncevais v. Herrick, No. 7:22-

cv-00441, 2023 WL 4666612, at *3 (S.D.Tex. Jul. 20, 2023). Further subpoenas

would be subject to being quashed based on sovereign immunity. Thus, issuance of

additional subpoenas would cause the GLO and Attorney General’s Office to use

taxpayer resources to defend against a subpoena over which the Court lacks

jurisdiction. Therefore, GLO’s Motion for Protective Order should be granted.

                                      PRAYER

   For the reasons stated above, GLO respectfully requests the Court grant its

Motion to Quash and Motion for Protective Order. GLO also prays for any such

other and further relief, both general and specific, at law or in equity, to which it

may be justly entitled.
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                                         Respectfully submitted,

                                         KEN PAXTON
                                         Attorney General of Texas
                                         BRENT WEBSTER
                                         First Assistant Attorney General
                                         JAMES LLOYD
                                         Deputy Attorney General for Civil
                                         Litigation
                                         ERNEST C. GARCIA
                                         Chief, Administrative Law Division
                                         /s/ Lauren McGee
                                         TED ROSS
                                         State Bar No. 24008890
                                         LAUREN MCGEE
                                         State Bar No. 24128835
                                         Assistant Attorneys General
                                         Office of the Attorney General of
                                         Texas
                                         Administrative Law Division
                                         P.O. Box 12458, Capitol Station
                                         Austin, Texas 78711-2548
                                         Telephone: (512) 475-3203
                                         Ted.Ross@oag.texas.gov
                                         Lauren.McGee@oag.texas.gov
                                         Attorneys for Non-Party Texas
                                         General Land Office
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                     CERTIFICATE OF CONFERENCE
       I hereby certify that on April 3, 2024, I spoke with Chuck Matula, Counsel
for Google, LLC by phone to discuss this Motion to Quash. Despite discussion of
each participant’s view, we were unable to resolve this issue because GLO believes
it has sovereign immunity and Google, LLC believes GLO’s sovereign immunity
has been waived. Counsel for GLO has complied with the meet and confer
requirement in Local Rule CV-7(h). Counsel for Google, LLC oppose this Motion.
                                                  /s/ Lauren McGee
                                                  Lauren McGee
                                                  Assistant Attorney General

                        CERTIFICATE OF SERVICE
     I hereby certify that a true and correct copy of the above and foregoing
document has been served to the following parties on April 4, 2024, via e-file:
Chuck Matula
Yetter Coleman LLP
811 Main Street, Suite 4100
Houston, Texas 77002
cmatula@yettercoleman.com
(713) 632-8069

Attorneys for Google, LLC
